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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 SIGMA CORPORATION,                            )
                                               )
        Plaintiff,                             )
                                               )        Case No. 2:22-cv-02436-JPM-cgc
 v.                                            )
                                               )
 ISLAND INDUSTRIES and R. GLENN                )
 SANDERS,                                      )
                                               )
        Defendant.                             )


         ORDER GRANTING MOTION TO WITHDRAW THE REFERENCE


       Before the Court is Plaintiff Sigma Corporation’s (“Sigma”) Motion to Withdraw the

Reference, filed with this Court on July 1, 2022. (ECF No. 1.) Plaintiff seeks an order

withdrawing the reference of all claims brought by Sigma against Island Industries (“Island”)

in the United States Bankruptcy Court for the Western District of Tennessee, pursuant to 28

U.S.C. § 157(d). (Id. at PageID 1.)

       Sigma initiated an adversary proceeding against Island and R. Glenn Sanders

(“Sanders”) on May 9, 2022, seeking damages for alleged theft of trade secrets pursuant to 18

U.S.C. § 1836(b), N.J. Stat. § 56:15-1, and Tenn. Code Ann. § 47-25-101, et seq. (Id. at

PageID 2–3.) Defendant Sanders is not a party to Island’s Chapter 11 bankruptcy case. (Id. at

PageID 3.) The Parties do not dispute that Sigma’s claims against Sanders are non-core. (See

Id.; see also ECF No. 1-1 at PageID 15.) Sigma has demanded a jury trial in this matter. (Id.)

The Court finds that these factors amount to “cause shown” to withdraw the reference. 28

U.S.C. § 157(d). The Court therefore elects to permissively withdraw the reference from the
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bankruptcy court. See In re Old Time Pottery, LLC, No. 3:20-BK-03138, 2021 WL 8013747,

at *4 (M.D. Tenn. Nov. 8, 2021) (noting that the factors weighing in favor of cause being

shown include “whether the claim is core or non-core,” judicial efficiency, and whether a jury

trial has been demanded). The Motion is GRANTED.

       SO ORDERED, this 4th day of October, 2022.

                                                     /s/ Jon P. McCalla
                                                    JON P. McCALLA
                                                    UNITED STATES DISTRICT JUDGE




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